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 1                                                           THE HONORABLE RICARDO S. MARTINEZ
                                                                 HEARING DATE: SEPTEMBER 24, 2021
 2                                                                   ORAL ARGUMENT REQUESTED
 3

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 5

 6

 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
 9

10   JAS SUPPLY, INC., a Florida corporation,                   NO. 2:21-cv-01015-RSM

11                                       Plaintiff,
                                                                PLAINTIFF JAS SUPPLY, INC.’S
12          v.                                                  OPPOSITION TO DEFENDANTS’
                                                                MOTION FOR SUMMARY JUDGMENT
13   RADIANT CUSTOMS SERVICES, INC., a
     New York corporation, RADIANT                              AND
14   GLOBAL LOGISTICS, INC., a Washington
     corporation,                                               COUNTERMOTION FOR SUMMARY
15                                                              JUDGMENT
                                         Defendants.
16

17
                                            I.     RELIEF REQUESTED
18
            Plaintiff JAS Supply, Inc. (“JAS Supply”) submits its Opposition to Defendants Radiant
19
     Customs Services, Inc.’s (“Radiant Customs”) and Radiant Global Logistics, Inc.’s (“Radiant
20
     Global”) (collectively, “Radiant” or “Defendants”)1 FRCP 56 Motion for Summary Judgment
21
     which seeks to limit Defendants’ liability regarding the customs brokerage services it provided
22
     to JAS Supply to no more than $200 pursuant to the subject limitation of liability provision in
23
     the Parties’ underlying contract documents. Motion for Summary Judgment, Dkt. No. 14. JAS
24
     Supply opposes Radiant’s request, and further countermotions for summary judgment, seeking
25
26
            1
                JAS Supply and the Radiant Defendants shall hereinafter be collectively referred to as the “Parties.”

     PLAINTIFF JAS SUPPLY, INC.’S OPPOSITION                                         GORDON REES SCULLY
     TO DEFENDANTS’ MOTION FOR SUMMARY                                               MANSUKHANI, LLP
     JUDGMENT AND COUNTERMOTION FOR                                                  701 5th Avenue, Suite 2100
     SUMMARY JUDGMENT - 1                                                            Seattle, WA 98104
                                                                                     Telephone: (206) 695-5100
                                                                                     Facsimile: (206) 689-2822
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 1   an order from this Court regarding the meaning and enforceability of that contractual limitation

 2   provision as it pertains to Defendants’ liability owed to JAS Supply in this matter.

 3                                            II.    INTRODUCTION

 4           In 2020, as the COVID-19 pandemic was rapidly spreading across the United States and

 5   the globe, JAS Supply saw the opportunity to use its vendor relationships to provide personal

 6   protective equipment (“PPE”) to combat the spread virus and protect the public. Specifically,

 7   JAS Supply sought to import containers of alcohol wipes to be used by the public as PPE.

 8   Having never worked with a customs broker or imported anything to the United States, JAS

 9   Supply turned to Radiant which held itself out as an expert in importation services. JAS Supply

10   trusted that Radiant would take the necessary steps to import the badly-needed alcohol wipes

11   “quickly and efficiently”2 and as promised.

12           Radiant failed to deliver on those promises. Not only did it provide incorrect information

13   to the U.S. Food & Drug Administration (“FDA”), it failed to correct its mistake for months on

14   end, failed to notify JAS Supply of those mistakes, thereby preventing JAS Supply from

15   initiating any action on its own behalf, and further failed to submit a timely appeal to the FDA

16   which may have allowed JAS Supply to avoid or even mitigate the costs which it seeks in this

17   lawsuit. By the time JAS Supply was finally notified by the FDA of Radiant’s errors and

18   omissions, the only option was to either export or destroy the PPE; both options are still explored

19   and resolved as between JAS Supply and the FDA.

20           Radiant’s Motion is an undisguised attempt by Radiant to avoid taking responsibility for

21   its failure to deliver on its promises. It asks this Court to help it avoid any real consequences by

22   enforcing an un-negotiated limitation of liability in a contract drafted solely by Radiant, subject

23   to numerous factual exceptions to its enforceability, each of which is applicable under the

24           2
               On its website, Radiant states that it “ensures that your cargo moves quickly and efficiently through
25   [Customs and Border Protection] & throughout the various customs clearance processes . . . “[o]ur specialty is the
     clearance of Time and Trade Sensitive Goods, and those of a perishable nature.” See Complaint, Dkt. No. 1 at ¶
26   10; Answer, Dkt. No. 12 at ¶ 10.

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     JUDGMENT AND COUNTERMOTION FOR                                                 701 5th Avenue, Suite 2100
     SUMMARY JUDGMENT - 2                                                           Seattle, WA 98104
                                                                                    Telephone: (206) 695-5100
                                                                                    Facsimile: (206) 689-2822
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 1   circumstances of this case. These exceptions will be discussed below, but in summary include

 2   procedural and substantive unconscionability and public policy. Moreover, issues of genuine

 3   material fact remain regarding the role played by Radiant Global in the subject transactions, as

 4   well as alternative claims asserted in the event the contract is unenforceable as written, each of

 5   which are discussed below.

 6           Unfortunately for Radiant, its premature FRCP 56 Motion sheds light on the unfavorable

 7   result of a plain reading enforcement of the subject limitation of liability provision where the

 8   express and unambiguous text of the provision at issue turns Radiant’s requested relief on its
 9   head. Despite Radiant’s attempt to argue the contrary, the limitation of liability provision

10   precludes enforcing it against JAS Supply for the admitted customs brokerage services Radiant

11   provided. Specifically, the relevant provision states as follows: “In the absence of additional

12   coverage under (c) above, [Radiant’s] liability shall be limited to the following: (i) where the

13   claim arises from activities other than those relating to customs brokerage, $50.00 per shipment

14   or transaction.” So, while Radiant has sought dipositive motions practice prematurely, its

15   decision to raise this issue with the Court when absolutely zero discovery3 has been conducted

16   points to a fundamental flaw in its argument and requested relief.

17           Accordingly, JAS Supply respectfully requests the Court (1) deny Radiant’s Motion for

18   Summary Judgment, and (2) grant JAS Supply’s request for affirmative relief as a matter of law.

19                                    III.   EVIDENCE RELIED UPON

20          JAS Supply relies upon the declarations of Meredith Thielbahr and Amber Starr, and the

21   exhibits attached thereto, as well as the pleadings and materials already on file with the Court.

22

23

24
             3
               Pursuant to this Court’s Order Regarding Initial Disclosures and Joint Status Report (ECF No. 8), the
     Parties were to exchange Initial Disclosures no later than September 10, 2021. JAS Supply timely made that
25   exchange. Consistent with its request to stay discovery pending ruling on the immediate Motion, but without
     agreement from counsel or order from the Court, Radiant failed to exchange any such initial disclosures. And,
26   obviously, no other written discovery or depositions have yet occurred.

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                                                                                  Facsimile: (206) 689-2822
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 1                                  IV.   STATEMENT OF FACTS
 2         A.      The Parties: Introduction, the Power of Attorney, and Relevant Contract
                   Documents.
 3
            The alcohol PPE containers at issue in this lawsuit are the first instance in which JAS
 4
     Supply has done business with either Radiant Defendant. See Declaration of Amber Starr
 5
     (“Starr Decl.”), at ¶ 3. It was also the first time JAS Supply had ever imported anything to the
 6
     U.S. or worked with a customs brokerage. Id. JAS Supply and Radiant were connected through
 7
     a mutual business contact, Amit Khubani. Id. Mr. Khubani was very familiar with the import
 8
     and export business, and had worked with Radiant in the past. Id. On May 15, 2020, Mr.
 9
     Khubani sent JAS Supply, via email, a four-page Power of Attorney (“POA”) and credit
10
     application for JAS Supply to complete and sign to get JAS Supply “setup to import”. Id. at ¶
11
     4; Exhibits 1 (POA) & 2 (5/15/20202 email from A. Khubani, at decisionmaker@gmail.com
12
     with both attachments). The POA was on Radiant Customs’ letterhead, while the credit
13
     application referenced Radiant Global. Id. JAS Supply executed the 4-page POA that same
14
     day, May 15, 2020, and returned it to Radiant/Amit. Id., at ¶ 5, Exhibit 3. JAS Supply had no
15
     opportunity to, and did not, negotiate any portion of Radiant’s POA or terms and conditions,
16
     including any purported limitation of liability. Id.
17
            The first paragraph, top of page 2 of 4 of the POA, reads as follows:
18
           In the execution of this document, it is expressly understood that grantee limits its
19         liability to the extent provided for under law and in accordance with SBA’s Terms
20         and Conditions of Service, a written copy of which Grantor hereby acknowledges
           having received and to which Grantor agrees to be bound. Said Terms and
21         Conditions        of      Service      are     also     available     online      at:
           http://www.radiantgloballogistics.com
22
     Id., ¶ 4; Exhibit 1 (emphasis added).
23
            The POA, however, does not reference or make clear what “SBA” means or may be
24
     referring to – there is no reference or defined “SBA” term elsewhere in the POA. Id. Radiant
25
     has never provided JAS Supply with a document purported to be “SBA’s Terms and Conditions
26
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 1   of Services”. Id. at ¶ 6. Moreover, the SBA Terms and Conditions of Service are not published

 2   at the URL address provided on the face of the POA. Id.; See also Declaration of Meredith L.

 3   Thielbahr (“Thielbahr Decl.”), at ¶ 2. The Terms and Conditions are not accessible in any of

 4   the menus at the top of the home page; nor are they retrieved by the website’s own search engine

 5   for “terms” or “terms and conditions.” Id. Rather, the terms and conditions are nested within

 6   the website and can only be accessed by following a small link (“Terms”) in the bottom-right

 7   corner at the end of the home page, followed by clicking through a subsequent page of

 8   aggregated contractual terms on a link for “Radiant Global Logistics.” Id. Notably, there is no
 9   option or link for “Radiant Customs Services.” Id. The actual URL address of the terms and

10   conditions     referenced     above      the    signature     line      of     the      POA       is

11   https://resources.radiantdelivers.com/radiant-terms-conditions.        Thielbahr     Decl.,   ¶   3.

12   Importantly, this URL takes you to a webpage entitled, “Radiant Global Logistics Terms and

13   Conditions.” Id.

14           The last page of the POA (page 4 of 4) displays “GOVERNING TERMS &

15   CONDITIONS OF SERVICE.” Starr Decl., at ¶ 4; Exhibit 1. The page makes no reference to

16   “SBA.” Id. The terms and conditions contains the following preamble (emphasis added):

17          These terms and conditions of service constitute a legally binding contract between
18          the “Company” and the “Customer”. In the event the Company renders services
            and issues a document containing Terms and Conditions governing such services,
19          the Terms and Conditions set forth in such other documents(s) shall govern those
            services.
20
     Id.
21
             Again, Radiant never provided JAS Supply with any purported SBA “Terms and
22
     Conditions”, nor any other “Terms and Conditions” pursuant to POA’s preamble above. Id. at
23
     ¶ 6.
24
             On May 19, 2020, JAS Supply participated in a call with Gina Milana, Radiant’s
25
     International Operations Manager, to discuss JAS Supply’s import goals and customs brokerage
26
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                                                                          Telephone: (206) 695-5100
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 1   needs, and additional information and documents necessary from JAS Supply to deliver and

 2   clear customs prior to any importation. Id. at ¶ 7. Thereafter, Radiant sent JAS Supply a

 3   customer onboard packet. Id.; Exhibit 4.

 4          B.       The Limitation of Liability Provision in Radiant’s POA.

 5          Radiant’s POA terms and conditions contain limitation of liability provisions at Section

 6   9 (“Disclaimers; Limitation of Liability”) at page 4. Id. ¶ 4; Exhibit 1. In pertinent part, Section

 7   9 provides as follows:

 8          (b)      Subject to (d) below, Customer agrees that in connection with any and all
            services performed by the Company4, the Company shall only be liable for its
 9          negligent acts, which are the direct and proximate cause of any injury to Customer,
10          including loss or damage to Customer's goods, and the Company shall in no event
            be liable for the acts of third parties;
11          ….
            (d)      In the absence of additional coverage under (c) above5, the Company’s
12          liability shall be limited to the following:
                     (i) where the claim arises from activities other than those relating to customs
13          brokerage, $50.00 per shipment or transaction; or
14                   (ii) where the claim arises from activities relating to “Customs business,”
            $50.00 per entry or the amount of brokerage fees paid to Company for the entry,
15          whichever is less[.]

16   Id.
17          Section 1 of Radiant’s terms and conditions includes various “Definitions.” Id. “Customs
18   business” is not defined in the POA. Id.
19          The limitation of liability provision at Section 9 of Radiant’s POA is identical to the
20   limitation of liability provision in the terms and conditions set forth at Radiant Global’s
21   webpage: https://resources.radiantdelivers.com/radiant-terms-conditions. Thielbahr Decl. at ¶
22   3.
23

24           4
                 Section 1 (“Definitions”) of the POA defines “Company” to mean “Radiant Customs Service, Inc. as
25   well as its subsidiaries, related companies, agents and/or representatives as may exist[.]”
               5
                 Again, no discovery, including any regarding applicable coverage of either Radiant entities, has been
26   conducted.

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 1          C.        FDA Detention and Refusal of Entry & JAS Supply’s Filing of this Lawsuit.

 2          Working with Radiant as its customs broker, JAS Supply, ultimately, imported 19

 3   containers of PPE alcohol wipes, the last four (4) of which were detained by the FDA and are

 4   the subject of this lawsuit. Starr Decl. at ¶ 8. The containers were detained on September 24,

 5   2020, due to Radiant’s failures to identify the correct manufacturer of the wipes, and whether

 6   they were FDA-registered. Id. Radiant failed to timely notify JAS Supply of the entry issues

 7   and FDA’s refusal to accept them. Id. The first JAS Supply was notified of an issue with entry

 8   was months later, on December 30, 2020, when the FDA issued a notice of refusal, thus requiring
 9   JAS to return the containers for destruction. Radiant appealed, but the FDA declined to rescind

10   its refusal. Id.

11          On July 29, 2021, after unsuccessful demand letters by JAS Supply to Radiant, Radiant

12   filed the immediate lawsuit. Complaint, Dkt. No. 1. The day following the filing of its Answer

13   (see Answer, Dkt. No. 12), the Radiant Defendants’ filed the immediate Motion for Summary

14   Judgment (Dkt. No. 14) and Motion to Stay Discovery (Dkt. No. 17).

15          No discovery has been conducted in this case. Thielbahr Decl., at ¶ 4. JAS Supply

16   exchanged FRCP 26(a)(1) Initial Disclosures on September 10, 2021. Id. Defendants made no

17   such exchange. Id.

18               V.     ARGUMENT IN OPPOSITION TO DEFENDANTS’ MOTION
19          A.        Summary Judgment is Not Proper as Radiant’s Motion Rests on Numerous
                      Disputed Issues of Fact.
20
             Summary judgment is only appropriate when the pleadings, depositions, answers to
21
     interrogatories, and admissions on file, together with the affidavits, if any, show that there does
22
     not exist any genuine issue as to any material fact and the moving party is entitled to a judgment
23
     as a matter of law. CR 56(c). A material fact, for summary judgment purposes, is one on which
24
     the outcome of the litigation depends, in whole or in part. Schmitt v. Langenour, 162 Wn. App.
25
     397, 404 (2011). The moving party is held to a strict standard. Atherton Condo. Apartment-
26
     PLAINTIFF JAS SUPPLY, INC.’S OPPOSITION                             GORDON REES SCULLY
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 1   Owners Ass'n Bd. of Directors v. Blume Dev. Co., 115 Wn.2d 506, 516 (1990). Any doubts as

 2   to the existence of a genuine issue of material fact is resolved against the moving party. Id. In

 3   addition, we consider all the facts submitted and the reasonable inferences therefrom in the light

 4   most favorable to the nonmoving party. Id.

 5             Here, Radiant has cited and relied upon Washington’s general enforcement of limitation

 6   of liability provisions. Yet, conveniently, Radiant has failed to present relevant case law and

 7   issues of disputed facts which, if proven true, would render the limitation provision of the

 8   Parties’ POA and contract documents unenforceable. These exceptions include both procedural
 9   and substantive unconscionability, and public policy.

10          B.        Issues of Material Fact Regarding Unconscionability and Public Policy
                      Considerations Preclude Summary Judgment on Radiant’s Purported
11                    Limitation of Liability Provision.
12             Radiant gives but a single paragraph of airtime to the general rule in Washington that

13   “liability limitations will be enforce[d] if they are not unconscionable.” See Motion, Dkt. No.

14   14, at p. 7 (citing M.A. Mortenson Co. v. Timberline Software Corp., 140 Wn.2d 568, 585, 998

15   P.2d 305 (2000)).6          Radiant, however, omits for this Court’s consideration well-known

16   exceptions to the enforceability of limitation provisions, including unconscionability and public

17   policy.

18             Under Washington law, contracts are generally enforceable as long as they are not

19   unconscionable and do not violate public policy. See Nelson v. McGoldrick, 127 Wn.2d 124,

20   131 (1995) (explaining contracts are enforceable so long as they are not unconscionable);

21

22             6
                 Defendants’, at FN 2 of their Motion, cite to an unpublished, non-controlling Texas case, Atwood
     Oceanics, Inc. v. Zust Bachmeier of Switzerland, Inc., 2006 WL 734415 (S.D. Tex. March 21, 2006) arguing that
23   a Texas court, there, “upheld a verbatim limitation on liability language in customs brokerage contract.” The
     Atwood limitation of liability provision, however, as argued in JAS Supply’s Countermotion below, is not identical.
24   It simply limits liability “to an amount equal to the lesser of $50.00 per entry or shipment or the fee(s) charged for
     services” with no mention of the types of services included or excluded (at least not in the facts of the unpublished
25   opinion). Moreover, there are distinguishable facts regarding contract negotiation and the services provided in
     Atwood from the present case, all of which are relevant in determining the enforceability of a limitation clause.
26
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     SUMMARY JUDGMENT - 8                                                              Seattle, WA 98104
                                                                                       Telephone: (206) 695-5100
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 1   Wagenblast v. Odessa School Dist., 110 Wn.2d 845, 848-49 (1998) (holding exculpatory clauses

 2   in contract as valid as long as they do not violate public policy). With respect to issues of

 3   unconscionability, Washington courts will deny the enforcement of all or part of an unfair

 4   contract based on abuses within the actual terms of the contract itself (substantive

 5   unconscionability) or abuses during the process of forming a contract (procedural

 6   unconscionability). See Mendez v. Palm Harbor Homes, Inc., 111 Wn. App. 446, 458-59

 7   (2002). While the burden of proving unconscionability is on the party attacking the clause, the

 8   court’s decision will be based on the factual circumstances surrounding the contract in question.
 9   Tjart v. Smith Barney, Inc., 107 Wn. App. 885, 898 (2001).

10          Substantive unconsionability may be found in cases where a clause or term in the

11   contract is one-sided or includes a gross disparity, thereby violating the reasonable expectations

12   of the parties. 25 WASH. PRAC., CONTRACT LAW AND PRACTICE § 9:6 (3d ed.). Washington law

13   dictates that a contract term is substantively unconscionable where it is “shocking to the

14   conscience,” “one-sided or overly harsh,” or “exceedingly calloused.” Gandee v. LDL Freedom

15   Enterprises, Inc., 176 Wn.2d 598, 603 (2013); Adler v. Fred Lind Manor, 153 Wn.2d 331, 344-

16   45 (2004).

17          Procedural unconscionability is broadly about a “lack of a meaningful choice,

18   considering all the circumstances surrounding the transaction.” See M.A. Mortenson Co., 140

19   Wn.2d at 587–89. Washington law recognizes several nonexclusive factors to consider in
20   assessing the procedural unconscionability of a liability exclusionary clause: “(1) the

21   conspicuousness of the clause in the agreement; (2) the presence or absence of negotiations

22   regarding the clause; (3) the custom and usage of the trade; and (4) any policy developed

23   between the parties during the course of dealing.” Puget Sound Fin., L.L.C. v. Unisearch, Inc.,

24   146 Wn.2d 428, 441 (2002).

25
26
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 1          Courts have further articulated that unconscionability is determined in view of the

 2   pertinent facts, “including (1) the manner in which the parties entered into the contract, (2)

 3   whether the parties had a reasonable opportunity to understand the terms of the contract, and

 4   (3) whether the important terms were hidden in a maze of fine print.” Puget Sound Fin, 146

 5   Wn.2d at 441–42; see also Cypress Ins. Co. v. SK Hynix Am., Inc., 365 F. Supp. 3d 1142, 1156

 6   (W.D. Wash. 2019). Additionally, both the nature of the parties and the type of agreement –

 7   negotiated versus adhesion – matter significantly to procedural unconscionability.

 8          And, finally, Washington law also voids contractual exculpatory clauses if they violate
 9   public policy. See generally, Johnson v. NEW, Inc., 89 Wn. App. 309 (1997). In Washington,

10   the analysis of whether a clause or disclaimer violates public policy consists of six factors,

11   articulated by the court in Wagenblast. An agreement limiting one’s own liability violates public

12   policy if a court determines the majority of the following characteristics are present:

13         (1) the transaction concerns a business of a type generally thought suitable for
           public regulation; (2) the party seeking exculpation is engaged in performing a
14         service of great importance to the public, which is often a matter of practical
           necessity for some members of the public; (3) the party holds himself out as willing
15         to perform this service for any member of the public who seeks it, or at least for
           any member coming within certain established standards; (4) as a result of the
16         essential nature of the service, in the economic setting of the transaction, the party
           invoking exculpation possesses a decisive advantage of bargaining strength against
17         any member of the public who seeks his services; (5) in exercising a superior
           bargaining power, the party confronts the public with a standardized adhesion
18         contract of exculpation and makes no provision whereby a purchaser may pay
           additional reasonable fees and obtain protection against negligence; (6) as a result
19         of the transaction, the person or property of the purchaser is placed under the control
           of the seller, subject to the risk of carelessness by the seller or his agents.
20
     Wagenblast, 110 Wn.2d at 851-52.
21
            Here, numerous factors – all of which are relevant and factually disputed between the
22
     Parties – weigh in favor of the unenforceability of the POA’s and Radiant Global’s URL terms
23
     and conditions $50 limitation of liability provision. First, Radiant’s limitation of liability
24
     provision blatantly and excessively favors Radiant and is one-sided; it attempts to cap Radiant’s
25
     liability to $50 per entry where Radiant’s invoice for the entry at issue alone was for
26
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     SUMMARY JUDGMENT - 10                                               Seattle, WA 98104
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 1   $144,471.44. Starr Decl., at ¶ 9; Exhibit 5. JAS Supply has factual arguments regarding the

 2   lack of meaningful choice it had in contract negotiation. The terms of the POA and hidden URL

 3   terms and conditions are plainly an adhesion contract. While JAS Supply and Radiant are both

 4   sophisticated parties under the eyes’ of the law, there were no negotiations, application of what

 5   terms are applicable are not clear, and JAS Supply was never supplied with the supposed “SBA’s

 6   Terms and Conditions.”

 7          Finally, as a matter of public policy, the limitation of liability should be deemed void

 8   and unenforceable. The contract for customs brokerage services is clearly suitable for public
 9   regulation. Radiant was performing an important health service to the public in a time of great

10   need, and policy issues relating specifically to the COVID-19 pandemic may very-well ones of

11   first impression for this Court. Radiant and JAS Supply had never done business together prior

12   to these 19 containers of PPE. Radiant held itself out as a competent global and domestic

13   customs broker. JAS Supply’s property came under the control and care of Radiant, and under

14   a heightened agency fiduciary duty, and Radiant utterly failed in performing its contract as a

15   result of its negligence and carelessness.

16         C.      Radiant Global’s Role in JAS Supply Transactions at Issue Preclude
                   Dismissal as a Party.
17
            Radiant requests this Court dismiss Radiant Global as a party for two reasons: (1)
18
     Radiant Global did not enter into a contract with JAS Supply, and (2) “Radiant Global did not
19
     participate in any of the acts or omissions that Plaintiff alleges caused its damages.” See,
20
     generally, ECF No. 14, at pgs. 4-6. However, even without the benefit of any discovery
21
     whatsoever, the evidence shows that Radiant Global was involved in the transactions at issue in
22
     this case, and issues of material fact remain regarding the extent to which Radiant Global may
23
     have been party to the contract.
24
            First and primarily, the limitation of liability Terms and Conditions which Defendants’
25
     rely on to obtain summary judgment exist on Radiant Global’s webpage/URL cite. There is no
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     TO DEFENDANTS’ MOTION FOR SUMMARY                                  MANSUKHANI, LLP
     JUDGMENT AND COUNTERMOTION FOR                                     701 5th Avenue, Suite 2100
     SUMMARY JUDGMENT - 11                                              Seattle, WA 98104
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 1   webpage terms and conditions for Radiant Customs. Likewise, the credit application, a required

 2   contract document for Radiant to “setup JAS Supply to import”, was on Radiant Global’s

 3   letterhead – not Radiant Customs. Second, Invoice Number 400108027, related to the final

 4   shipment of the four containers of alcohol wipes at issue, was received by JAS Supply via email

 5   on August 21, 2020. Starr Decl. at ¶ 9; Exhibit 5. The invoice required payment be remitted

 6   not to Radiant Customs, but to “Radiant Global Logistics.” Id. JAS Supply paid the invoice as

 7   required via wire transfer. Id. Further, the Bill of Lading, provided as part of the invoice

 8   package, identifies “Radiant Global Logistics” as the “Forwarding Agent” for the transaction.
 9   Id.; Exhibit 5 at page 4. In fact, each invoice from Radiant to JAS Supply contained exactly the

10   same information – payment to Radiant Global and Radiant Global as the forwarding agent on

11   the relevant bill of lading. Id. ¶ 9. Therefore, it is patently false to suggest Radiant Global “did

12   not participate” in the transactions.

13            At this stage in this lawsuit, it cannot be said that Radiant Global is not a proper party to

14   this lawsuit and its dismissal is wholly unsupported by the record before the Court.

15           D.       Issues of Material Fact Regarding Contract Enforceability and Extra-
                      Contractual Duties Preclude Summary Judgment Dismissal of JAS Supply’s
16                    Fiduciary Duty Claims and Negligence Claims against Defendants.
17                    1.        Fiduciary Duty Analysis.

18            At its core, Radiant’s argument to dismiss JAS Supply’s breach of fiduciary duty claim

19   rests on the mistaken idea that the mere existence of a contract precludes the claim. Critically,

20   Radiant never cites to a Washington case where a court has applied the independent duty

21   doctrine to prohibit a breach of fiduciary duty claim.7 In fact, over the course of its five

22   paragraph argument, Radiant conflates general claims for negligence and breach of fiduciary

23
              7
24              Radiant did cite to Pac. Boring, Inc. v. Staheli Trenchless Consultants, Inc., 138 F. Supp. 3d 1156 (W.D.
     Wash. 2015), an opinion written by this Court. As the Court is undoubtedly aware, the holding in Pac. Boring was
25   not that “Washington law does not impose a separate duty on professionals when the relationship between the
     parties is governed by contract” because there was no contract between the parties in that matter. Instead, this
26   Court rejected plaintiff’s argument an engineer can be subject to liability for its affirmative conduct to third parties.

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     JUDGMENT AND COUNTERMOTION FOR                                                      701 5th Avenue, Suite 2100
     SUMMARY JUDGMENT - 12                                                               Seattle, WA 98104
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 1   duties, fails to provide even the basic elements of the claim, and ultimately leaps to a conclusion

 2   unsupported by fact or law.

 3          Washington law has long recognized that breach of a fiduciary duty imposes liability in

 4   tort. Micro Enhancement Int'l, Inc. v. Coopers & Lybrand, LLP, 110 Wn. App. 412, 433 (2002).

 5   Contrary to Radiant’s faulty contention, a fiduciary duty can arise even when a contract exists

 6   between the parties. In Micro Enhancement Int'l, the parties executed a contract for auditing

 7   services ahead of a planned initial public offering of stock. Id. at 418. The trial court declined

 8   to instruct the jury on a breach of fiduciary duty claim, and the court of appeals upheld the
 9   decision, but not based upon the economic loss rule. Rather, the claim was disallowed because

10   the jury found no proximal relationship between the conduct at issue and the claimed losses, and

11   because the court determined that a public auditor, like the defendant in that case, is not a

12   fiduciary of its client because, among other reasons, its primary duty is to the public. Id. at 434-

13   35. In other words, a breach of fiduciary duty claim is colorable even with the existence of a

14   contract that governs the relationship between the parties.

15          In Blakey v. Blakey, 186 Wn. App. 1037 (2015), an unpublished yet persuasive case, the

16   court of appeals applied the independent duty doctrine and the holding in Micro Enhancement

17   Int'l to permit a claim for breach of fiduciary duty. Specifically, the court stated plaintiffs’

18   breach of fiduciary duty claim has a firm basis in tort law and, as such, is not precluded under

19   the independent duty doctrine. Id. at 10. While the court ultimately found plaintiffs failed to
20   prove they suffered damages as a result of the alleged breach, the inapplicability of the

21   independent duty doctrine is relevant to JAS Supply’s claims in this case.

22          Here, sufficient facts exist to establish every element of a claim for breach of fiduciary

23   duty. In order to establish a claim, the plaintiff must prove (1) existence of a duty owed; (2)

24   breach of that duty; (3) resulting injury; and (4) that the claimed breach proximately caused the

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 1   injury. Micro Enhancement Int'l., 110 Wn. App. at 433–34. A fiduciary relationship can arise

 2   either in law or in fact. Liebergesell v. Evans, 93 Wn.2d 881, 890 (1980).

 3          A fiduciary relationship arises at law when the nature of the relationship between the

 4   parties is historically considered fiduciary in character – this explicitly includes the principal

 5   and agent relationship. Alexander v. Sanford, 181 Wn. App. 135, 172–73 (2014). On the other

 6   hand, a fiduciary relationship arises in fact when there is something in the particular

 7   circumstances which approximates a business agency or professional relationship, something

 8   which itself impels or induces the trusting party to relax the care and vigilance which he
 9   otherwise should, and ordinarily would, exercise. Id. at 173.

10          In this case, Radiant’s fiduciary duty arises not only pursuant to the contract between the

11   Parties, but also at law and in fact. At law, Radiant acted as JAS Supply’s agent with respect to

12   customs brokerage activities, and was empowered to act on its behalf in all dealings with CBP,

13   the FDA, and others. This relationship between the two entities was the classic principal/agent

14   arrangement. Radiant’s fiduciary duty also arises in fact because JAS Supply justifiably relied

15   upon Radiant’s self-proclaimed expertise in navigating customs issues – something JAS Supply

16   had never dealt with before. JAS Supply’s inexperience, combined with the complicated nature

17   of customs brokerage, induced JAS Supply to believe Radiant was not only acting at all times

18   in its best interest, but that Radiant was providing all necessary information related to the

19   customs brokerage transactions.
20          Unfortunately, Radiant was not forthcoming with necessary information.                    In

21   Washington, among many other duties, an agent has a fiduciary duty to his principal to report

22   information that he receives affecting his principal’s interests. Soper v. Knaflich, 26 Wn. App.

23   678, 681 (1980). Radiant breached its fiduciary duty by failing to inform JAS Supply regarding

24   the FDA’s detention of the final shipment of alcohol wipes, failing to provide the requested and

25   required information to the FDA, and failing timely appeal the FDA’s decision. JAS Supply
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 1   suffered damages in excess of $700,000, caused solely by Radiant’s multiple breaches, when

 2   the FDA determined the subject product must be exported or destroyed.

 3          Washington law is clear: a fiduciary relationship can arise regardless of the existence of

 4   a contract, and claims for breach are not prohibited by the independent duty doctrine. Based

 5   upon the above, genuine issues of material fact preclude summary judgment on JAS Supply’s

 6   breach of fiduciary duty claim against Radiant.

 7                 2.     Negligence Analysis.

 8          In Washington, pleadings are governed by CR 8, which states in relevant part:
 9         A pleading which sets forth a claim for relief … shall contain (1) a short and plain
10         statement of the claim showing the pleader is entitled to relief and (2) a demand for
           judgment for the relief to which the pleader deems the pleader is entitled. Relief in
11         the alternative or of several different types may be demanded.

12   CR 8(a). (Emphasis added). The Rule goes on to permit a party to “state as many separate

13   claims or defenses as the party has regardless of consistency and whether based on legal or

14   equitable grounds or on both.” CR 8(e)(2). (Emphasis added).

15          JAS Supply’s claim for negligence against Radiant is primarily a function of the poorly

16   drafted contract between the Parties that, as described above, is so riddled with errors,

17   ambiguities, undefined terms, and inconsistencies, it may well be unenforceable. In the event

18   the contract is determined to be void, in whole or in part, JAS Supply has the right and the

19   obligation to assert all claims it may have against Radiant. Moreover, to the extent Radiant

20   argues there is no contract between JAS Supply and Radiant Global, issues of genuine material

21   fact remain regarding Radiant Global’s role in the transactions at issue, and preclude dismissal

22   of JAS Supply’s negligence claim.

23          At this early stage in the litigation, prior to any discovery whatsoever, JAS Supply’s

24   claims in the alternative for negligence should not be dismissed as a matter of law. Issues of

25   material fact remain regarding the enforceability of the contract Radiant alone drafted, and the

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 1   Court should not reward Radiant at this initial phase of the case by dismissing an alternative

 2   claim supported by fact and law.

 3                        VI.    JAS SUPPLY’S AFFIRMATIVE MOTION

 4          JAS Supply respectfully moves this Court for an order ruling that the purported

 5   limitation of liability provision found in the POA and relevant contract documents cannot be

 6   said to limit Defendants’ liability for the customs brokerage services the Parties’ undisputed

 7   agree Defendants’ provided as a matter of law.
           A.      In Matters of Contract, Summary Judgment is Appropriate when the
 8
                   Contract Provision in Question is Unambiguous.
 9          Summary judgment is appropriate if reasonable persons could reach but one conclusion.
10   Wm. Dickson Co. v. Pierce County, 128 Wn. App. 488, 492 (2005) (citing Wilson v. Steinbach,
11   98 Wn.2d 434, 437 (1982)). When interpreting a contract, the primary objective is to discern
12   the parties’ intent. Tanner Elec. Coop. v. Puget Sound Power & Light, 128 Wn.2d 656, 674
13   (1996). “Unilateral or subjective purposes and intentions about the meanings of what is written
14   do not constitute evidence of the parties’ intentions.” Lynott v. Nat’l Union Fire Ins. Co. 123
15   Wn.2d 678, 684 (1994). Extrinsic evidence is admissible as to the entire circumstances under
16   which the contract was made, as an aid in ascertaining the parties’ intent; yet, as a general rule,
17   the parties’ intentions are questions of fact. Berg v. Hudesman, 115 Wn.2d 657, 667 (1990);
18   Paradise Orchards Gen. P’ship v. Fearing, 122 Wn. App. 507, 517 (2004), rev denied, 153
19   Wn.2d 1027 (2005).
20          Clear and unambiguous contract terms, to the contrary, are questions of law. Id. A
21   contract is not ambiguous simply because the parties suggest opposing meanings. Martinez v.
22   Miller Indus., Inc., 94 Wn. App. 935, 944 (1999). Here, the relevant limitation of liability
23   provision which Radiant attempts to rely to limit is exposure expressly excludes claims arising
24   from the provision of customs brokerage services. The language of that limitation is express,
25   clear, and unambiguous. Accordingly, JAS Supply seeks a dipositive order form this Court
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 1   ruling that any attempt by Radiant to limit its damages to JAS Supply as a result of the customs

 2   brokerage services it undisputedly provided – or failed to provide – and which give rise to the

 3   Parties’ claims and defenses, is unenforceable and void.

 4         B.      The Clear and Unambiguous Language of the Limitation of Liability
                   Provision Expressly Precludes a Limitation of Liability for Customs
 5                 Brokerage Services.
 6          As outlined above, absolutely no discovery has been conducted in this matter. The

 7   Parties’ only pleadings have been their Complaint and Answer, respectively, and Joint Status

 8   Report. Combined Joint Status Report and Discovery Plan, Dkt. No. 23. Regardless, the

 9   Parties, in their initial pleadings, make clear it is undisputed that JAS Supply’s claims relate to

10   Radiant’s provision of customs brokerage services. JAS Supply’s Complaint alleged, in

11   relevant part, that JAS Supply contracted with Radiant “for Radiant to provide customs broker

12   services to JAS Supply for the import of 19 containers of alcohol wipes …” Complaint, Dkt.

13   No. 1, at ¶ 1. In Answer, Radiant admitted that “JAS Supply entered into a contract with

14   Radiant[] to provide customs broker services to JAS Supply for the import of [the] 19 containers

15   of alcohol wipes.” Answer, Dkt. No. 12, at ¶ 1. Likewise, in their immediate Motion for

16   Summary Judgment, Defendants assert that “Radiant Customs is a customs broker and ocean

17   freight forwarder.” Motion, Dkt. No. 14, at p. 2. Defendants go on to argue in their Motion that,

18   “all of [JAS Supply’s] claims relate to Radiant’s [] performance of its custom brokerage duties,

19   including, but not limited to, the acts necessary to facilitate the entry and clearing of the imports

20   at issue.” Id. at p. 7 (citing Vitale Decl., Ex. A). Construing all facts in favor of Radiant, it is

21   without question that the services provided by Radiant to JAS Supply were customs brokerage

22   services.

23          Yet, the relevant limitation provision, which Defendants cite and rely upon in their

24   Motion (at page 6, Paragraph C) expressly and unambiguously excludes the limitation of liability

25   argued by Radiant for claims arising out of the provision of customs brokerage services, the

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     SUMMARY JUDGMENT - 17                                                 Seattle, WA 98104
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 1   very services Defendants answer in the affirmative and later argue in the immediate Motion are

 2   what Radiant provided in this case. That provision, found at paragraph 9(d)(i) of the POA, states

 3   as follows: “In the absence of additional coverage . . . [Radiant’s] liability shall be limited to the

 4   following: (i) where the claim arises from activities other than those relating to customs

 5   brokerage, $50.00 per shipment or transaction.” Starr Decl. at ¶ 4; Exhibit 1. Accordingly, as

 6   admitted by Radiant, Defendants’ provision of customs brokerage services are explicitly exempt

 7   from any limitation of liability under the relied upon provision 9(d)(i). The Court should rule,

 8   as a matter of law, that JAS Supply’s claims related to Radiant’s provision of customs brokerage
 9   services are not subject to any limitation of liability.

10                                        VII. CONCLUSION

11           Plaintiff JAS Supply respectfully requests that this Court deny Defendants’ Motion for

12   Summary Judgment, and further requests an affirmative order from this Court that the limitation

13   of liability provision does not apply to the customs brokerage services all Parties admit

14   Defendants’ provided, and therefore cannot limit Defendants’ liability to $200 (or another

15   nominal amount) in this case as a matter of law.
                                      VIII. PROPOSED ORDER
16
             A Proposed Order is attached hereto.
17

18   Dated: September 20, 2021                           GORDON REES SCULLY MANSUKHANI,
                                                         LLP
19
                                                         By: /s/ Meredith Thielbahr
20                                                           Meredith Thielbahr WSBA # 41746
21                                                           Collin Vincent WSBA #44277
                                                             Attorneys for Plaintiff JAS Supply, Inc.
22                                                           Gordon Rees Scully Mansukhani, LLP
                                                             701 5th Avenue, Suite 2100
23                                                           Seattle, WA 98104
                                                             Phone: (206) 695-5100
24                                                           Fax: (206) 689-2822
25                                                           Email: mthielbahr@grsm.com
                                                                      cvincent@grsm.com
26
     PLAINTIFF JAS SUPPLY, INC.’S OPPOSITION                               GORDON REES SCULLY
     TO DEFENDANTS’ MOTION FOR SUMMARY                                     MANSUKHANI, LLP
     JUDGMENT AND COUNTERMOTION FOR                                        701 5th Avenue, Suite 2100
     SUMMARY JUDGMENT - 18                                                 Seattle, WA 98104
                                                                           Telephone: (206) 695-5100
                                                                           Facsimile: (206) 689-2822
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           1                                          CERTIFICATE OF SERVICE

           2
                            I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
           3
                      the Court using the CM/ECF system which will send notification of such filing to the
           4
                      following:
           5
                      Aukjen Ingraham
           6          Lillian K. Hubbard
                      Josh Dennis
           7          1420 5th Avenue, Suite 3400
                      Seattle, WA 98101
           8          aingraham@schwabe.com
                      lhubbard@schwabe.com
           9          jdennis@schwabe.com
                      Attorneys for Radiant Custom Services, Inc.
         10           and Radiant Global Logistics, Inc.

         11
                                                                        By: /s/ Meredith Thielbahr
         12                                                                 Meredith Thielbahr

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                      TO DEFENDANTS’ MOTION FOR SUMMARY                                    MANSUKHANI, LLP
1239960/61683723v.3   JUDGMENT AND COUNTERMOTION FOR                                       701 5th Avenue, Suite 2100
                      SUMMARY JUDGMENT - 19                                                Seattle, WA 98104
                                                                                           Telephone: (206) 695-5100
                                                                                           Facsimile: (206) 689-2822
